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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 0:16-cv-61732-WPD

  SYMBOLOGY INNOVATIONS, LLC,

             Plaintiff

  v.

  FRESHPOINT, INC.

             Defendant.

       JOINT RESPONSE TO ORDER TO SHOW CAUSE AND JOINT MOTION FOR AN
                EXTENSION OF TIME TO SUBMIT DISMISSAL PAPERS

             Plaintiff SYMBOLOGY INNOVATIONS, LLC and Defendant FRESHPOINT, INC., by

  and through undersigned counsel, hereby jointly respond to the Court’s Order to Show Cause

  dated October 12, 2016 (Dkt. 17) and move this Court for an extension of time to submit

  dismissal papers, and in support state:

             1.      The parties have agreed in principle on a settlement and notified the court by

  Notice of Settlement dated September 16, 2016 (Dkt. 16) of their settlement.

             2.      The parties have exchanged drafts of a settlement agreement and are in the

  process of finalizing that agreement and obtaining signatures from the representatives of the

  parties.

             3.      The process of finalizing the settlement has taken longer than either side

  anticipated, and the parties are in need of additional time to conclude the settlement.

             4.      Until the settlement is concluded and the settlement agreement signed, the parties

  are not able to dismiss this case with prejudice.

             5.      The parties jointly request an extension of time of an additional thirty (30) days to



                  SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                                 4651 NORTH FEDERAL HIGHWAY
                                    BOCA RATON, FL 33431
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  finalize the settlement agreement and file a dismissal with prejudice.

         6.      This request by both parties for an extension is made in good faith to finalize the

  settlement agreement and is not made for purposes of delay.

         7.      In the alternative, if this Court will not agree to the extension requested, the

  parties agree to the dismissal of this action without prejudice subject to either a further dismissal

  with prejudice upon completion of the settlement or reinstatement should unforeseen

  complications to settlement occur.

         WHEREFORE, the parties respectfully request this Court grant the parties an additional

  time to submit dismissal papers, or grant such other relief as is just under the circumstances.

  Dated: October 14, 2016                        Respectfully submitted,


  /s/ Joel B. Rothman                                 /s/ Kevin E. Caldwell
  JOEL B. ROTHMAN                                     KEVIN E. CALDWELL
  Florida Bar Number: 98220                           kcadwell@reedsmith.com
  joel.rothman@sriplaw.com                            PETER J. CHASSMAN
  JEROLD I. SCHNEIDER                                 pchassman@reedsmith.com
  Florida Bar Number: 26975                           REED SMITH LLP
  jerold.schneider@sriplaw.com                        811 Main Street, Suite 1700
  SCHNEIDER ROTHMAN INTELLECTUAL                      Houston, TX 77002
  PROPERTY LAW GROUP, PLLC                            713.469.3800 – Telephone
  4651 North Federal Highway
  Boca Raton, FL 33431                                EDWARD M. MULLINS
  561.404.4350 – Telephone                            Florida Bar Number: 863920
  561.404.4353 – Facsimile                            emullins@astidavis.com
                                                      ANA MARIA BARTON
  Attorneys for Plaintiff Symbology Innovations,      abarton@astidavis.com
  LLC                                                 ASTIGARRAGA DAVIS MULLINS &
                                                      GROSSMAN, P.A.
                                                      1001 Brickell Bay Drive, 9th Floor
                                                      Miami, FL 33131
                                                      305.372.8282 – Telephone
                                                      305.372.8202 – Facsimile
                                                      abarton@astidavis.com
                                                      Attorneys for Defendant Freshpoint, Inc.




              SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                             4651 NORTH FEDERAL HIGHWAY
                                BOCA RATON, FL 33431
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                                  CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on October 14, 2016, a true and correct copy of
  the foregoing document was sent via electronic mail by the Court’s CM/ECF system to all
  parties listed below on the Service List.

                                              /s/ Joel B. Rothman
                                              JOEL B. ROTHMAN


                                         SERVICE LIST

  Edward M. Mullins                                Kevin E. Cadwell
  Ana Maria Barton                                 Peter J. Chassman
  Astigarraga Davis Mullins & Grossman, P.A.       Reed Smith LLP
  1001 Brickell Bay Drive, 9th Floor               811 Main Street, Suite 1700
  Miami, FL 33131                                  Houston, TX 77002
  305.372.8282 – Telephone                         713.469.3800 – Telephone
  305.372.8202 – Facsimile                         kcadwell@reedsmith.com
  emullins@astidavis.com                           pchassman@reedsmith.com
  bhernandez@astidavis.com
  abarton@astidavis.com                            Co-counsel for Defendant
  Attorneys for Defendant




              SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                             4651 NORTH FEDERAL HIGHWAY
                                BOCA RATON, FL 33431
